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 1 MICHAEL W. BIEN – 096891                      OREN NIMNI*
   ERNEST GALVAN – 196065                         Mass. Bar No. 691821
 2 KARA J. JANSSEN – 274762                      AMARIS MONTES*
   GINGER JACKSON-GLEICH – 324454                 Md. Bar No. 2112150205
 3 ROSEN BIEN                                    D DANGARAN*
   GALVAN & GRUNFELD LLP                          Mass. Bar No. 708195
 4 101 Mission Street, Sixth Floor               RIGHTS BEHIND BARS
   San Francisco, California 94105-1738          416 Florida Avenue N.W. #26152
 5 Telephone: (415) 433-6830                     Washington, D.C. 20001-0506
   Email:       mbien@rbgg.com                   Telephone: (202) 455-4399
 6              egalvan@rbgg.com                 Email:       oren@rightsbehindbars.org
                kjanssen@rbgg.com                             amaris@rightsbehindbars.org
 7              gjackson-gleich@rbgg.com                      d@rightsbehindbars.org
                                                 *
 8 SUSAN M. BEATY – 324048                           Pro hac vice applications pending
   CALIFORNIA COLLABORATIVE FOR
 9 IMMIGRANT JUSTICE
   1999 Harrison Street, Suite 1800
10 Oakland, California 94612-4700
   Telephone: (510) 679-3674
11 Email:       susan@ccijustice.org
12 Attorneys for Plaintiffs
13                            UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                          Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of          DECLARATION OF C
   themselves and all others similarly situated,           B     IN SUPPORT OF
17               Plaintiffs,
                                                           PLAINTIFFS’ MOTIONS FOR
                                                           PRELIMINARY INJUNCTION
18        v.                                               AND PROVISIONAL CLASS
                                                           CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4317391.4]
       DECLARATION OF C            B     IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                          INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1          I, C         B     , declare:
 2          1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support of
 4 Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5          2.     I am incarcerated in federal prison and have been incarcerated at FCI Dublin
 6 from February 2020 to present. In the future BOP may transfer me to other BOP facilities
 7 but at any point I could be transferred back to FCI Dublin.
 8          3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
 9 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
10 and put myself and other incarcerated persons at substantial risk of serious harm from
11 sexual assault, harassment, and retaliation from staff.
12          4.     While at FCI Dublin, Officers Poole and Jones expected us to do sexual
13 favors for them and retaliated against us if we said anything. I knew these officers
14 mistreated women in the prison because they often called women “bitches” and treated us
15 badly by taking away our property, throwing away our property without reason, and
16 making us do extra work than what was required. I tried to stay away from them, but I
17 could not avoid them as much as I tried.
18          5.      Around Thanksgiving 2021, I was working in food service. I saw Officers
19 Poole and Jones in the same area speaking to another incarcerated woman. She told me
20 that the officers told her, “If I’m working here, I’ll be expecting sexual favors.” I walked
21 back towards the office, and Officer Poole saw me and ran after me and yelled, “I’ll fuck
22 up your world.” I understood that to be a threat because Officer Poole thought I was going
23 to report him for what he said to the other incarcerated woman. He then went straight into
24 my room where my property was locked. He asked the unit officer to open my property
25 and took everything I owned to the trash for Food Service, where they smash everything to
26 dispose of it. This was hundreds of dollars of my possessions, and I was left with no
27 clothes or underwear, aside from the ones that I was wearing that day and my uniform.
28 Officer Poole did this in front of all the officers in the unit and I felt humiliated.
   [4317391.4]                                      1
      DECLARATION OF C             B     IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                          INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 6.   I was expected to go to work the next day, even though I had no clothes
 2 aside from the ones I had been wearing the day before. When I resisted going to work the
 3 next day without clean clothes or underwear, Officer Jones issued me a shot. After that, I
 4 wrote to Ms. Minor, the unit manager at the time, about not being able to go to work
 5 without clothes, and she took me to Lieutenant Putnam’s office. I made my report about
 6 everything that happened with Officer Poole. In reference to my cell search, he said he
 7 didn’t know what I was talking about and then switched to saying he would look at it, but
 8 to my knowledge he never did anything about it. Later, I was issued disposable underwear
 9 for three days, until one pair of new underwear was issued to me.
10                 7.   I never returned to work at Food Service until Officers Poole and Jones were
11 walked off a few weeks later because I wanted to avoid these officers and their ongoing
12 harassment of me. Even after not returning to work, Officer Poole often laughed and
13 taunted me about having thrown away my things while I walked to the medical line. I
14 know he did this to target me because I saw him at the medical line even on days when I
15 knew he was not normally supposed to be there.
16                 8.   When I arrived at FCI Dublin in February 2020 I was not provided adequate
17 training and information about how to respond to sexual abuse. I was never given any
18 training about what PREA entailed and I only knew about PREA from the information
19 other incarcerated people gave me.
20                 9.   There is no effective way to confidentially report sexual assault and abuse by
21 staff at FCI Dublin. When incarcerated persons report sexual abuse by staff, FCI Dublin
22 and BOP do not seriously investigate the reports. Investigations are frequently delayed
23 and overseen by staff who know and work with the offending staff member. Generally
24 nothing happens as a result. Even when people report to SIS Lieutenant Putnam, there is
25 no investigation done for these reports. When I reported to Lieutenant Putnam around
26 Thanksgiving 2021, I was never called back to the office to discuss my report, and no one
27 ever contacted me about PREA until early 2023, almost a year and a half after the incident
28 I reported.
     [4317391.4]                                       2
       DECLARATION OF C                B     IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                              INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 10.   I filed a tort claim about the loss of my property about three weeks after the
 2 incident with Officer Poole and included receipts. That was almost two years ago. I
 3 finally received a response on June 20, 2023, offering only a small fraction of what I had
 4 claimed, just $50 when my items were worth over $500.
 5                 11.   Staff at FCI Dublin prevent people from reporting sexual assault and abuse
 6 by staff and retaliate against people who do report. Officer Poole’s comments made it
 7 clear that his cell search was in retaliation for believing I was going to report. When I did
 8 report to Lieutenant Putnam, I felt scared, and after I did, I did not want to go back to work
 9 in Food Service, where Officer Poole was still working. I also stopped going to mainline
10 because I didn’t want to see him, and I would avoid eating sometimes to avoid seeing him
11 in mainline. I also knew that if I reported in the future, he could do the same or worse by
12 sending me to the Special Housing Unit or doing something even worse.
13                 12.   There is little to no medical care available to survivors of sexual abuse and
14 assault at FCI Dublin, and there is no confidential mental health care available to
15 survivors. I was previously on a series of medications including Gabapentin, Abilify, and
16 Prozac. In approximately December 2022, they took me off all my psychiatric and pain
17 medication without warning even though I have bipolar disorder, depression, and nerve
18 damage that requires pain medications. I asked to speak with my counselor, but I was not
19 able to see them for months. They have told me that I need to see a psychiatric doctor but
20 there is no such doctor in the facility. In approximately mid-June 2023, I was finally put
21 back on Prozac, but I still have not received my antipsychotic or pain medications. Due to
22 the long gap without my psychiatric and pain medications, I had felt my depression
23 worsening, and I have been tired more often. I was never informed about Tri-Valley Care
24 as a way for survivors to speak with an outside counselor.
25 / / /
26 / / /
27 / / /
28 / / /
     [4317391.4]                                         3
       DECLARATION OF C                 B     IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                               INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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